Case 4:07-cr-40018-JPG Document 92 Filed 10/21/21 Pagelof5 Page ID #361

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA, )
Plaintiff,

v. 5 CASE NUMBER 07-40018-JPG
KENDEL W. McKINNEY,
Defendant.

MOTION FOR EXTENSION OF TIME TO FILE REPLY TO
GOVERNMENT?’S RESPONSE TO DEFENDANT’S MOTION TO
REDUCE SENTENCE PURSUANT TO THE FIRST STEP ACT

COMES Defendant, Kendel W. McKinney (“McKinney”), appearing pro se, and files his
Motion for Extension of Time to Reply to Government’s Response to Defendant’s Motion To
Reduce Sentence Pursuant to the First Step Act, and would show as follows:

I. PRELIMINARY STATEMENT

As a preliminary matter, McKinney respectfully requests that this Court be mindful that pro
se litigants are entitled to liberal construction of their pleadings. See United States v. Norwood, 602
F.3d 830 (7" Cir. 2010) (“Pro se pleadings are held to a less stringent standard than pleadings drafted
by attorneys and will, therefore, be liberally construed.”); Estelle v. Gamble, 429 U.S. 97, 103
(1976); Haines v Kerner, 404 U.S. 519, 520 (1972) (same).

II. REASON FOR EXTENSION

McKinney has been recently transferred to FCI Ashland. He is aware that the government

on September 2, 2021, filed a Sealed Response as to his Motion for Compassionate Release and the

First Step Act of 2018 (“GR”) [Doc. 90]. However, because he was in transit to his new facility and

because the GR is sealed, he has not received a copy of it and its Exhibits. He is also waiting to
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receive his property and legal materials from R & D at the prison. As such, he seeks a sixty (60)
extension, up to and including December 14, 2021, to file his reply to the GR. He also respectfully
requests that the Court Order the government to mail him a copy of the GR and its Exhibits to him
by legal mail so that he will be sure to receive it.

WHEREFORE, premises considered, McKinney prays that the Court grant him an extension
of sixty (60) days in which to file his Reply to the GR and that the Court Order the government to
mail him a copy by legal mail to him at his new federal facility.

Respectfully submitted,

Dated: October 14, 2021. Kenotd Kanal
. KENDEL W. MCKINNEY
REG. NO. 07321-025
FCI ASHLAND
FEDERAL CORR. INSTITUTION
P.O. BOX 6001
ASHLAND, KY 41105

CERTIFICATE OF SERVICE

I hereby certify that on October 14, 2021, a true and correct copy of the above and foregoing
Motion for Extension of Time to Reply to Government’s Response to Defendant’s Motion To
Reduce Sentence Pursuant to the First Step Act was sent via U. S. Mail, postage prepaid, George A.
Norwood, Assistant U.S. Attorney at U.S. Attorney’s Office - Benton, 402 West Main Street, Suite
2A, Benton, IL 62812.

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KENDEL W. MCKINNEY
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KENDEL W. MCKINNEY
REG. NO. 07321-025

 

FCI ASHLAND
FEDERAL CORRECTIONAL INSTITUTION
P.O. BOX 6001
ASHLAND, KY 41105

October 14, 2021

Mr. Margaret M. Robertie

Clerk of Court

Southern District of Indiana

Benton Division

301 West Main Street

Benton, IL 62812

RE: McKinney v. United States
Crim No. 4:07-cr-40018-JPG-1

Dear Ms. Robertie:

Enclosed please find and accept for filing Defendant’s Motion for Extension
of Time to File Reply to Government’s Response to Defendant’s Motion To Reduce
Sentence Pursuant to the First Step Act. Please submit this motion to the Court.

Thank you for your assistance in this matter.

Sincerely,

KENDEL W. MCKINNEY
Appearing Pro Se

Encl. as noted
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